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                        UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF TEXAS


    CRAIG CUNNINGHAM,                                §
    Plaintiff,                                       §
                                                     §
    V.                                               §
                                                     § Civil Case No. 4:18-cv-00565-ALM-
    DR. Finance, LLC, Teliamarie Lamb,               CAN
                                                     §
                                                     §
    Defendant                                        §
                                                     §



                                  Plaintiffs Amended Complaint


                                                Parties

    1. The Plaintiff is Craig Cun ingham and natural person and was present in Texas for all

         calls in this case in Collin County.

    2. Teliamarie Lamb is a natural person and can be served at 1850 Valley Forge Dr.,

         Saint Cloud, FL 34769 or 8031 Lesia Cir., Orlando, FL 32835 or 2897 Polvadero Ln.,

         Unit 107, Orlando, FL 32835.

    3. DR. Finance, LLC is a Florida corporation that can be served via registered agent

         Teliamarie Lamb 1850 Valley Forge Dr., Saint Cloud, FL 34769.

    4. John/Jane Does 1-4 are other liable parties currently unknown to the Plaintiff.

                                  JURISDICTION AND VENUE

    5. Jurisdiction. This Court has federal-question subject matter jurisdiction over

         Plaintiffs TCPA claims pursuant to 28 U.S.C. § 1331 because the TCPA is a federal

         statute. Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 372 (2012). This Court has
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        supplemental subject matter jurisdiction over Plaintiffs claim arising under Texas

       Business and Commerce Code 305.053 because that claim: arises from the same

       nucleus of operative fact, i.e.. Defendants telemarketing robocalls to Plaintiff; adds

        little complexity to the case; and doesn’t seek money damages, so it is unlikely to

       predominate over the TCPA claims.

    6. Personal Jurisdiction. This Court has general personal jurisdiction over the

       defendant because they have repeatedly placed calls to Texas residents, and derive

       revenue from Texas residents, and the sell goods and services to Texas residents,

       including the Plaintiff.

    7. This Court has specific personal jurisdiction over the defendants because the calls at

       issue were sent by or on behalf of Teliamarie Lamb and DR. Finance, LLC.

    8. Venue. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(l)-(2)

       because a substantial part of the events giving rise to the claims the calls and sale of

       goods and services directed at Texas residents, including the Plaintiff occurred in

       this District and because the Plaintiff resides in this District, residing in the Eastern

       District of Texas when he recieved a substantial if not every single call from the

       Defendants that are the subject matter of this lawsuit.

    9. This Court has venue over the defendants because the calls at issue were sent by or on

       behalf of the above named defendants to the Plaintiff a Texas resident.

       THE TELEPHONE CONSUMER PROTECTION ACT OF 1991, 47 U.S.C. §

       227

    10. In 1991, Congress enacted the TCPA in response to a growing number of consumer

       complaints regarding telemarketing.
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    11. The TCPA makes it unlawful to make any call (other than a call made for emergency

       purposes or made with the prior express consent of the called party) using an

       automatic telephone dialing system or an artificial or prerecorded voice ... to any

       telephone number assigned to a ... cellular telephone service. 47 U.S.C. §

       227(b)(l)(A)(iii).
    12. The TCPA makes it unlawful to initiate any telephone call to any residential

       telephone line using an artificial or prerecorded voice to deliver a message without

       the prior express consent of the called party, unless the call is initiated for emergency

       purposes, is made solely pursuant to the collection of a debt owed to or guaranteed by

       the United States, or is exempted by rule or order of the Federal Communication

       Commission (“FCC”). 47 U.S.C. § 227(b)(1)(B).

    13. The TCPA provides a private cause of action to persons who receive calls in violation

       of § 227(b). 47 U.S.C. § 227(b)(3).

    14. Separately, the TCPA bans making telemarketing calls without a do-not-call policy

       available upon demand. 47 U.S.C. § 227(c); 47 C.F.R. § 64.1200(d)(1).1

    15. The TCPA provides a private cause of action to persons who receive calls in

       violation of § 227(c) or a regulation promulgated thereunder. 47 U.S.C. § 227(c)(5).

    16. According to findings of the FCC, the agency vested by Congress with authority to

       issue regulations implementing the TCPA, automated or prerecorded telephone calls

       are a greater nuisance and invasion of privacy than live solicitation calls and can be

       costly and inconvenient.

    17. The FCC also recognizes that wireless customers are charged for incoming calls


    1 See Code of Federal Regulations, Title 47, Parts 40 to 60, at 425 (2017)
    (codifying a June 26, 2003 FCC order).
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       whether they pay in advance or after the minutes are used. In re Rules and

       Regulations Implementing the T l. Consum r Prot. Act of 199R 18 FCC Red. 14014,

       14115 165 (2003).

    18. The FCC requires prior express written consent for all autodialed or prerecorded

       telemarketing robocalls to wireless numbers and residential lines. In particular: [A]

       consumer s written consent to receive telemarketing robocalls must be signed and be

       sufficient to show that the consumer: (1) received clear and conspicuous disclosure

       of the consequences of providing the requested consent, i.e., that the consumer will

       receive future calls that deliver prerecorded messages by or on behalf of a specific

       seller; and (2) having received this information, agrees unambiguously to receive

       such calls at a telephone number the consumer designates. In addition, the written

       agreement must be obtained without requiring, directly or indirectly, that the

       agreement be executed as a condition of purchasing any good or service.

    19. In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of

       199 f 27 FCC Red. 1830, 1844 33 (2012) (footnote and internal quotation marks

       omitted). FCC regulations generally establish that the party on whose behalf a

       solicitation is made bears ultimate responsibility for any violations.” In the Matter of

       Rules and Regulations Implementing the Tel. Consumer Prot. Act of 1991, 10 FCC

       Red. 12391, 12397 13 (1995).

    20. The FCC confin ed this principle in 2013, when it explained that “a seller ... may be

       held vicariously liable under federal common law principles of agency for violations

       of either section 227(b) or section 227(c) that are committed by third-party

       telemarketers.” I the Matter of the Joint Petition Filed by Dish N twork, LLC, 28
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       FCC Red. 6574, 6574 1 (2013).

    21. Under the TCPA, a text message is a call. Satterfield v. Simon & Schuster, Inc., 569

       F.3d 946, 951 - 52 (9th Cir. 2009).

    22. A corporate officer involved in the telemarketing at issue may be personally liable

       under the TCPA. E.g., Jackson Five Star Catering, Inc. v. Beason, Case No. 10-


        10010, 2013 US. Disk LEXIS 159985, at *10 (E.D. Mich. Nov. 8, 2013) ( [M]any

       courts have held that corporate actors can be individually liable for violating the

       TCPA where they had direct, personal participation in or personally authorized the

       conduct found to have violated the statute. (internal quotation marks omitted));

       Maiyland v. Universal Elections, 787 F. Supp. 2d 408, 415 - 16 (D. Md. 2011) ( If

       an individual acting on behalf of a corporation could avoid individual liability, the

       TCPA would lose much of its force.”).

                        The Texas Business and Commerce Code 305.053

    23. The Texas Business and Commerce code has an analogus portion that is related to the

       TCPA and was violated in this case.

    24. The Plaintiff may seek damages under this Texas law for violations of 47 USC 227 or

       subchapter A and seek $500 in statutory damages or $1500 for willful or knowing

       damages.

                                   FACTUAL ALLEGATIONS

    25. Rachel with Card Services is the bane of the existance of many consumers. These are

       calls long since prosecuted by the FTC that make fraudulent, misleading, false

       promises and exaggerated claims to consumers. These scams have taken place for

       years and continue to this day. Jeff Lakes is the ring leader of one of these scam
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        operations and has directed this scam to continue in the face of consumer complaints

        for years.


                     Teliamarie Lamb and DR. Finance, LLC calls to the Plaintiff

    26. Mr. Cunningham received multiple calls from a variety of spoofed caller ID s that

        contained a pre-recorded message and were initiated using an automated telephone

        dialing system. The calls were on behalf of Teliamarie Lamb and DR. Finance, LLC..

       The calls had a delay of 3-4 seconds of dead air before the pre-recorded message

       began indicating the calls were initiated using an ATDS. The Plaintiff recieved calls

       directly from the corporations owned byTeliamarie Lamb and on behalf of these

       corporations by 3rd party telemarketers for both direct and vicarious liability in this

       case.


    27. Starting in 2018, the Plaintiff recieved multiple calls from multiple spoofed and non¬

       working caller ID s all designed to trick consumers into picking up the phone by

       using false, misleading, and fraudulent caller ID’s. These calls were not related to an

       emergency purpose or any

    28. One call was from 615-550-8333 to 615-348-1977 on 11/12/2018 and contained a

       pre-recorded message and was initiated by an automated telephone dialing as

       indicated by a 3-4 second delay of dead air when the call first connected. The

       defendants called a total of 10 times on 11/12/2018, 3 times on 11/13/2018 and once

       on 11/15/201 from 866-576-9211.

    29. The 8333 number is a non-working number and was picked specifically because it is

       very similar to the Plaintiffs actual phone number of 7262 and is called

        Neighborhood spoofing designed to trick consumers into picking up the call as it
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       appears to be a local call. This call contained a pre-recorded message after a 3-4

       second pause of dead air. Upon further conversation with the representative who had

       a thick foreign accent and sounded as if he was calling from overseas, the Plaintiff

       was transferred live to a verification rep and then finally to an agent who stated he

       was with Ramsey Debt relief.

    30. Teliamarie Lamb and DR. Finance, LLC knew full well that overseas telemarketers

       were placing calls on their behalf to consumers across the country pitching debt relief

       services by Teliamarie Lamb and DR. Finance, LLC which was initiated using an

       automated telephone dialing system and contained a pre-recorded message.

    31. Mr. Cunningham has a limited data plan. Incoming text messages chip away at his

       monthly allotment.

    32. Mr. Cunningham has limited data storage capacity on his cellular telephone.

       Incoming calls from Jeff Lakes and his related entities consumed part of this capacity.

    33. No emergency necessitated the calls

    34. Each call was sent by an ATDS.

         Teliamarie Lamb and DR. Finance, LLC s Knowing and Willful Violations of

                                    Telemarketing Regulations

    35. Mr. Cunningham asked for an internal do-not-call policy

    36. Teliamarie Lamb and DR. Finance, LLC knowingly violated the TCPA by initiating

       automated calls with pre-recorded messages to the Plaintiff.

    37. Teliamarie Lamb and DR. Finance, LLC never sent Mr. Cunningham any do-not-call

       policy.

    38. On information and belief, Teliamarie Lamb and DR. Finance, LLC and did not
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       have a written do-not-call policy while it was sending Mr. Cunningham text

       messages.

    39. On infon ation and belief, Teliamarie Lamb and DR. Finance, LLC did not train its

       agents engaged in telemarketing on the existence and use of any do-not-call list.

    40. Teliamarie Lamb and DR. Finance, LLC calls did not provide Mr. Cunningham with

       the name of the individual caller or the name of the person or entity on whose behalf

       the call was being made.

       Teliamarie Lamb and Control over DR. Finance, LLC Including its Illegal

       Robocalling and Telemarketing

    41. At all times relevant to the claims alleged herein, Teliamarie Lamb was the sole

       corporate officer and executive in charge of DR. Finance, LLC.. Each and every call

       was placed on behalf of the corporate entites owned by Jeff Lakes. Jeff Lakes co¬

       mingles funds and uses these entities as alter egos of each other.

    42. Teliamarie Lamb is DR. Finance, LLC s, incorporator, registered agent and corporate

       officer.

    43. Teliamarie Lamb was aware that DR. Finance, LLC, was sending automated,

       telemarketing calls en masse to people, including Plaintiff, and had recieved previous

       complaints about these types of calls

    44. As DR. Finance, LLC s senior-most executive, Teliamarie Lamb had the power to

       stop these spam campaigns.

    45. As DR. Finance, LLC’s , senior-most executive, Teliamarie Lamb had the power to

       fire the managers and employees taking part of the day-to-day operations of these

       illegal robocalling operations. Despite being sued by the Plaintiff for illegal
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        telemarketing, Teliamarie Lambcontinued to use the services of the exact same

        telemarketers, which resulted in the Plaintiff being called additional times on his

        behalf and at his direction.

    46. Instead, Teliamarie Lamb allowed the calls to continue and the responsible managers

        to keep their jobs despite his knowledge of frequent do-not-call complaints from

       recipients of these messages, including the Plaintiff.

                        The Plaintiffs cell phone is a residential n mber

    47. The text messages were to the Plaintiffs cellular phonne 615-348-1977, which is the

       Plaintiffs personal cell phone that he uses for personal, family, and household use.

       The Plaintiff maintains no landline phones at his residence and has not done so for at

       least 10 years and primarily relies on cellular phones to communicate with friends and

       family. The Plaintiff also uses his cell phone for navigation purposes, sending and

       receiving emails, timing food when cooking, and sending and receiving text

       messages. The Plaintiff further has his cell phone registered in his personal name,

       pays the cell phone from his personal accounts, and the phone is not primarily used

       for any business purpose.

                Violations of the Texas Business and Commerce Code 305.053

    48. The actions of Teliamarie Lamb and her corporation violated the Texas Business and

       Commerce Code 305.053 by placing automated calls to a cell phone which violate 47

       USC 227(b). The calls by Teliamarie Lamb and her corporation violated Texas law

       by placing calls with a pre-recorded message to a cell phone which violate 47 USC

       227(c)(5) and 47 USC 227(d) and 47 USC 227(d)(3) and 47 USC 227(e).

    49. The calls by Teliamarie Lamb violated Texas law by spoofing the caller ID s per 47
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        USC 227(e) which in turn violates the Texas statute.


                                  I. FIRST CLAIM FOR RELIEF

         (Non-Emer enc Robocalls to Cellular Telephones, 47 U.S.C. § 227(b)(1)(A))

                                     (Against All Defendants)

             1. Mr. Cunningham realleges and incorporates by reference each and every

     allegation set forth in the preceding paragraphs.

            2. The foregoing acts and omissions of Defendants and/or their affiliates or

     agents constitute multiple violations of the TCPA, 47 U.S.C. § 227(b)(1)(A), by making

     non-emergency telemarketing robocalls to Mr. Cunningham s cellular telephone number

     without his prior express written consent.

            3. Mr. Cu ringham is entitled to an award of at least $500 in damages for


     each such violation. 47 U.S.C. § 227(b)(3)(B).

            4. Mr. Cunningham is entitled to an award of up to $1,500 in damages for

     each such knowing or willful violation. 47 U.S.C. § 227(b)(3).

            5. Mr. Cunningham also seeks a permanent injunction prohibiting

     Defendants and their affiliates and agents from making non-emergency telemarketing

     robocalls to cellular telephone numbers without the prior express written consent of the

     called party.
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                                 n. SECOND CLAIM FOR RELIEF

            (Telemarketing Without Mandated Safe uards, 47 C.F.R. § 64.1200(d))

                                      (Against All Defendants)

            6. Mr. Cunningham realleges and incorporates by reference each and every

     allegation set forth in the preceding paragraphs.

            7. The foregoing acts and omissions of Defendants and/or their affiliates or

     agents constitute multiple violations of FCC regulations by making telemarketing

     solicitations despite lacking:

                    a. a written policy, available upon demand, for maintaining a do-not-

     call list, in violation of 47 C.F.R. § 64.1200(d)(1);2

                    b. training for the individuals involved in the telemarketing on the

     e istence of and use of a do-not-call list, in violation of 47 C.F.R. § 64.1200(d)(2);3 and,

                    c. in the solicitations, the name of the individual caller and the name

     of the person or entity on whose behalf the call is being made, in violation of 47 C.F.R. §

     64.1200(d)(4).4

            8. Mr. Cunningham is entitled to an award of at least $500 in damages for

     each such violation. 47 U.S.C. § 227(c)(5)(B).

            9. Mr. Cunningham is entitled to an award of up to $ 1,500 in damages for

     each such knowing or willful violation. 47 U.S.C. § 227(c)(5).




     2 See id. at 425 (codifying a June 26, 2003 FCC order).
     3 See id. at 425 (codifying a June 26, 2003 FCC order).
     4 See id. at 425 - 26 (codifying a June 26, 2003 FCC order).
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             10. Mr. Cunningham also seeks a permanent injunction prohibiting

     Defendants and their affiliates and agents from making telemarketing solicitations until

     and unless they (1) implement a do-not-call list and training thereon and (2) include the

     name of the individual caller and AFS s name in the solicitations.


             B . THIRD CLAIM FOR RELIEF: Violations of The Texas Business and

                                        Commerce Code 305.053

             11. Mr. Cunningham realleges and incorporates by reference each and every

     allegation set forth in the preceding paragraphs.

             12. The foregoing acts and omissions of Defendants and/or their affiliates or

     agents constitute multiple violations of the Texas Business and Commerce Code

     305.053, by making non-emergency telemarketing robocalls to Mr. Cunningham s

     cellular telephone number without his prior express written consent in violation of 47

     USC 227 et seq. The Defendants violated 47 USC 227(d) and 47 USC 227(d)(3) and 47

     USC 227(e) by using an ATDS that does not comply with the technical and procedural

     standards under this subsection.

             13. Mr. Cunningham is entitled to an award of at least $500 in damages for

     each such violation.Texas Busines and Commerce Code 305.053(b)

             14. Mr. Cunningham is entitled to an award of up to $1,500 in damages for

     each such knowing or willful violation. Texas Business and Commerce Code

     305.053(c).
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                                      IV. PRAYER FOR RELIEF

              WHEREFORE, Plaintiff Craig Cunningham prays for judgment against

     Defendants Teliamarie Lamb and DR. Finance, LLC jointly and severally as follows:

              A. Leave to amend this Complaint to name additional DOESs as they are

     identified and to confonn to the evidence presented at trial;

              B. A declaration that actions complained of herein by Defendants violate the

     TCP A and Texas state law;

              C. An injunction enjoining Defendants and their affiliates and agents from

     engaging in the unlawful conduct set forth herein;

              D. An award of $3000 per call in statutory damages arising from the TCPA

     intentional violations jointly and severally against the corporation and individual for 30

     calls.


              E. An award of $1,500 in statutory damages arising from violations of the

     Texas Business and Commerce code 305.053

              F. An award to Mr. Cunningham of damages, as allowed by law under the

     TCPA;

              G. An award to Mr. Cunningham of interest, costs and attorneys fees, as

     allowed by law and equity

              H. Such further relief as the Court deems necessary, just, and proper.




     Craig Cunningham, Plaintiff, Pro-se 3000 Custer Road, ste 270-206, Plano, Tx 75075
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                         UNITED STATES DISTRICT COURT FOR THE
                                EASTERN DISTRICT OF TEXAS


     CRAIG CUNNINGHAM,                                 §
     Plaintiff,                                        §
                                                       §
     V.                                                §
                                                       § Civil Case No. 4:18-cv-00565-ALM-
     DR. Finance, LLC, Teliamarie Lamb,                CAN
                                                       §
                                                       §
     Defendant                                         §
                                                       §



                                  Plaintiffs Certificate of Service


     I hereby certify a true copy was sent to the defendants in this case.




     3000 Custer Road, ste 270-206, Plano, Tx 75075


     11/30/3018
